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15                                 UNITED STATES DISTRICT COURT

16                                NORTHERN DISTRICT OF CALIFORNIA

17                                      SAN FRANCISCO DIVISION

18   FEDERAL TRADE COMMISSION,
                                                        Case No. 3:22-cv-01973-CRB
19                                  Plaintiff,
20                                                      DECLARATION OF CATHLEEN
            v.                                          RYAN IN SUPPORT OF INTUIT’S
21                                                      OPPOSITION TO PLAINTIFF’S
     INTUIT INC.,                                       EMERGENCY MOTION FOR
22                                                      TEMPORARY RESTRAINING
                                    Defendant.          ORDER AND PRELIMINARY
23                                                      INJUNCTION

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 1   I, Cathleen Ryan, declare as follows:

 2            1.    Since January 2022, I have served as the Senior Vice President of Marketing at Intuit.

 3   From July 2017 to January 2022, I served as the Vice President of Marketing at Intuit. From 2011 to

 4   2017, I served as Intuit’s Director of Marketing, Brand, and Digital Advertising. Based on my

 5   experience in those positions, and my review of Intuit’s internal data related to the matters here, I have

 6   personal knowledge of the facts set forth below. I submit this declaration in support of Intuit’s

 7   opposition to the FTC’s emergency motion for temporary restraining order and preliminary injunction.

 8     I.     TurboTax Free Edition

 9            2.    Intuit’s TurboTax products help tens of millions of Americans to file their taxes each

10   year. A substantial number of those Americans are able to use TurboTax at no cost. Between Tax

11   Year 2016 and Tax Year 2020, nearly 70 million taxpayers filed their taxes using the free version of

12   TurboTax software, currently called TurboTax Free Edition.

13            3.    In Tax Year 2018, more than 12.7 million taxpayers filed using Free Edition, followed

14   by roughly 14.1 million in Tax Year 2019, and nearly 14 million in Tax Year 2020. Those taxpayers

15   amount to roughly 40% of all TurboTax customers during that time period. More taxpayers use Free

16   Edition than any other single TurboTax paid product.

17            4.    Intuit offers TurboTax Free Edition to taxpayers whose financial situations require only

18   a simple tax return, meaning one that can be filed using Form 1040 without attached schedules, with

19   some additional tax situations covered.

20            5.    Intuit offers paid TurboTax products to taxpayers with more complex returns. For

21   instance, TurboTax Deluxe supports tax returns with itemized deductions, while TurboTax Premier is

22   needed to report income from selling stocks. Intuit provides details about those products and the tax

23   situations they cover at various points on its website, including the Products & Pricing webpage.

24            6.    Before April 1, 2022, the top of the homepage of Intuit’s TurboTax website

25   (https://turbotax.intuit.com/) included a promotion for free tax filing, which featured a color-

26   contrasted, hyperlinked disclosure stating “Simple tax returns only” in close proximity to the

27   promotion. A true and correct screenshot of Intuit’s baseline homepage—the version that most users

28   would have seen—prior to April 1 is attached as Exhibit A.
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 1           7.     Before April 1, when users clicked on the hyperlinked “Simple tax returns only”

 2    disclosure at the top of the TurboTax homepage, a pop-up screen appeared to inform consumers that

 3    “[a] simple tax return is Form 1040 only.” The pop-up screen then provided an explanation of the

 4    tax situations covered by Free Edition. A true and correct screenshot of the pop-up screen that

 5    appeared when a user clicked “Simple tax returns only” is attached as Exhibit B.

 6           8.     Beginning on April 1, the top of the TurboTax homepage no longer includes a

 7    promotion for TurboTax Free Edition. As a result, most users who visit the TurboTax homepage

 8    do not see any promotion for TurboTax Free Edition. A true and correct screenshot of the baseline

 9    TurboTax home page—the version that most users currently see—is attached as Exhibit C.

10           9.     To attempt to personalize the customer experience, Intuit employs alternative versions

11    of the TurboTax homepage that do feature promotions for TurboTax Free Edition. Only a small

12    minority of users (roughly 11.5%) visiting the TurboTax website ever see these versions of the

13    homepage. Like the limited-time promotion discussed above, the promotions for TurboTax Free

14    Edition on these alternative versions of the homepage all feature a color-contrasted, hyperlinked

15    disclosure stating “For simple tax returns only” in close proximity to the promotion. A true and

16    correct screenshot of an alternative version of the TurboTax homepage is attached as Exhibit D.

17    This alternative homepage’s hyperlinked “For simple tax returns only” disclosure is placed

18    immediately below the hyperlinked “File for $0” button. When users click on the hyperlinked “For

19    simple tax returns only” disclosure, the pop-up screen depicted in Exhibit B appears.

20           10.    TurboTax Free Edition is also listed on the Products & Pricing page of the TurboTax

21    website (https://turbotax.intuit.com/personal-taxes/online/). All versions of that Products & Pricing

22    page contain at least one color-contrasted hyperlinked disclosure stating that Free Edition is for

23    simple returns only. And the most commonly experienced, baseline version of the Products &

24    Pricing page includes three color-contrasted hyperlinked disclosures. A true and correct screenshot

25    of the baseline version of the TurboTax Products & Pricing page is attached as Exhibit E.

26           11.    In addition, the TurboTax website includes multiple TurboTax Blog posts and Support

27    FAQ pages describing Free Edition’s eligibility criteria. For example, in a Support FAQ entitled

28    “Is TurboTax Free Edition right for me?,” Intuit explains that “Free Edition is an online-only

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 1    product that supports simple tax returns that can be filed on Form 1040 without any attached

 2    schedules” and then proceeds to provide specific tax situations covered by Free Edition. A true and

 3    correct screenshot of this Support FAQ page (https://ttlc.intuit.com/community/choosing-a-

 4    product/help/is-turbotax-free-edition-right-for-me/00/26236) is attached as Exhibit F.

 5             12.   Moreover, the bottom of every page of the TurboTax website includes hyperlinked

 6    text stating, “Important offer details and disclosures.” When users click that link, they access a

 7    dropdown field including another disclosure that Free Edition is available for simple tax returns

 8    only. This disclosure is visible at the bottom of both Exhibit C and Exhibit E.

 9             13.   Customer retention is a critical component of Intuit’s business model, so the company

10    has an incentive to accurately inform its customers about Free Edition’s eligibility requirements and

11    get customers started in the product that best suits their needs. To that end, more than seventy

12    percent of the TurboTax users who begin their tax forms in TurboTax Free Edition ultimately file

13    their returns for free using Free Edition.

14             14.   If a court were to order Intuit to make alterations to the various references to Free

15    Edition on the TurboTax website prior to the April 18 tax deadline, the company would be required

16    to expend extensive time and incur substantial costs. And depending on the scope of the court’s

17    order, Intuit may be required to stop referring to Free Edition altogether on its website and in any

18    other marketing materials. This could have the practical effect of preventing even eligible taxpayers

19    from using Free Edition.

20    II.     Intuit’s Decision To Discontinue Video Advertisements For TurboTax Free Edition

21             15.   As reflected in the number of consumers who file their taxes for free using Free

22    Edition, Intuit’s Free Edition advertisements have been effective at raising awareness about free

23    tax-filing options. Intuit’s Free Edition advertisements often employ humor to attract consumers’

24    attention, for example, by repeating the word free in unanticipated circumstances.

25             16.   After our general counsel Kerry McLean and outside counsel met with FTC Chair

26    Lina Khan to discuss the FTC’s concerns regarding Intuit’s advertising, at approximately 7 p.m.

27    PST on Thursday, March 24, 2022, Intuit decided to discontinue all current video advertising

28    campaigns for TurboTax Free Edition for the remainder of the Tax Year 2021 tax season. Upon

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 1    making the decision, Intuit began the process of removing any such advertisements from all media

 2    it purchases or otherwise controls.

 3           17.    Before making this decision, Intuit had previously run four video ads for TurboTax

 4    Free Edition during Tax Year 2021 (i.e., during calendar year 2022).

 5           18.    One of these ads was a 15-second “Steven/Spit Take” commercial for a limited-time

 6    TurboTax Live offer for Free Edition. A true and correct version of this ad is available at

 7    https://www.ispot.tv/ad/bY2p/turbotax-live-steven (accessed April 1, 2022). For the last three

 8    seconds of the “Steven/Spit Take” commercial, the ad provided a text disclaimer at the bottom of

 9    the screen stating: “TurboTax Free Edition is for simple U.S. returns only. See if you qualify at

10    turbotax.com. Offer subject to change.” The ad also ended with an audio disclosure stating, “For

11    a limited time, TurboTax is free for simple returns, even when an expert files for you.” Intuit always

12    planned for this ad to air only through March 31, 2022.

13           19.    The other three Free Edition video ads that ran during Tax Year 2021 were similar to

14    each other in that they repeated the word “free” in unanticipated circumstances:

15              a. a 30-second “Dance Workout” commercial, a version of which the FTC has

16                  designated as Exhibit GX 208;

17              b. a 30-second “Auctioneer” commercial, a version of which the FTC has designated as

18                  Exhibit GX 202; and

19              c. a 30-second “Dog Show” Commercial, a version of which the FTC has designated as

20                  Exhibit GX 204.

21           20.    The conclusions of the “Dance Workout,” “Auctioneer,” and “Dog Show” ads

22    featured an audio disclosure directing consumers to “see details at turbotax.com.” The conclusions

23    of both ads also included a text disclosure stating that “TurboTax Free Edition is for simple U.S.

24    returns only” and inviting customers to “See if you qualify at turbotax.com.” This same text

25    disclosure has featured in every Free Edition video advertisement since Tax Year 2019. A true and

26    correct screenshot of the disclosure screen that appeared in the “Dance Workout,” “Auctioneer,”

27    ads is attached to this declaration as Exhibit G.

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 1            21.   Following Intuit’s March 24 decision, the “Dance Workout,” “Auctioneer,” and “Dog

 2    Show” ads are now marked “Private” on YouTube. This means that they no longer appear in search

 3    results and that the public cannot view them from TurboTax’s YouTube channel.

 4            22.   In addition to unlisting the ads on YouTube, Intuit also immediately sought to remove

 5    the ads from all other mediums—namely, linear television, over-the-top (OTT) television, full

 6    episode player (FEP) content, online video (OLV), and social media.

 7            23.   Removing the ads from these other mediums required Intuit to coordinate with over

 8    100 advertising partners. This process can take several business days because the advertising

 9    partners—not Intuit—control the broadcast of advertisements after the advertiser places the order.

10            24.   Thus, in this case, even though Intuit’s decision was immediately communicated to

11    its advertising partners, some linear TV advertising logs (which determine the ads that broadcasters

12    run) had already been finalized through the weekend (March 26-27) and therefore could not be

13    changed. Nonetheless, Intuit’s outside advertising agency, Wieden + Kennedy, estimates that

14    approximately 95% of the affected ads were off-air by the end of the day on Monday, March 28.

15    An additional roughly 4% of the ads were removed from cable rotation by the end of the day on

16    Tuesday, March 29. The remaining approximately 1% of the ads were set to run in syndicated

17    programs in local markets. For those programs, the ads are integrated into the program itself and

18    cannot be removed once the show is sent from the syndicator to the local markets. Wieden +

19    Kennedy estimates that the remaining 1% of ads were off-air by the end of the day on Friday, April

20    1.

21            25.   With respect to OTT, FEP, OLV, and social media, most ads were removed by the

22    end of the day of Friday, March 25, and the remaining ones were removed on Monday, March 28.

23            26.   Now that the process of removing these ads is complete, Intuit has no intention of

24    resuming use of the “Dance Workout,” “Auctioneer,” or “Dog Show” ads again at any future time.

25    Intuit also has no intention of ever using any other video ads that similarly rely on the repetition of

26    the word “free.” And between April 19 and September 14, 2022 (the date of Intuit’s administrative

27    hearing before the FTC), the company has no intention of airing any video ads for any TurboTax

28    products.

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 1   III.     Additional Exhibits

 2             27.    By virtue of my roles at Intuit, I have personal knowledge concerning the following

 3    documents, all of which were made and kept in the course of Intuit’s regularly conducted business

 4    activities.

 5             28.    Attached as Exhibit H is a true and correct copy of an Intuit blog post entitled

 6    “Accelerating Technology Innovation to Better Help Consumers Solve Their Most Pressing

 7    Financial      Problems,”   which     is   also   available   at   https://www.intuit.com/blog/news-

 8      social/accelerating-technology-innovation-to-better-help-consumers-solve-their-most-pressing-

 9    financial-problems/ (accessed April 1, 2022).

10             29.    Attached as Exhibit I is a true and correct copy of an Intuit slide deck entitled

11    “TurboTax Free TY18 Style Guide.”

12             30.    Attached as Exhibit J is a true and correct excerpt of an Intuit slide deck “TY18

13    TurboTax FREE Creative Execution Playbook.”

14             31.    Attached as Exhibit K is a true and correct excerpt of an Intuit slide deck entitled

15    “TurboTax Online Competitive NPS TY18 2019 Study.”

16             32.    Attached as Exhibit L is a true and correct copy of an Intuit slide deck entitled “What

17    is a world-class NPS score?”

18             33.    Attached as Exhibit M is a true and correct excerpt of an Intuit slide deck entitled

19    “Consumer Group Business Models.”

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